     Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 1 of 10



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


 Encoditech LLC,                                       Case No. 1:19-cv-10214

                        Plaintiff,                     Patent Case

                        v.                             Jury Trial Demanded

 Onset Computer Corporation,

                        Defendant.


                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, (“Encoditech”), through its undersign attorney, complains of Onset

Computer Corporation (“Onset”) and alleges the following:


                                         PARTIES

       1.      Plaintiff Encoditech LLC is a corporation organized and existing under the

laws of Texas that maintains its principal place of business at 3415 Custer Road, Suite 120-

A, Plano, Texas, 75023.

       2.      Defendant Onset Computer Corporation is a corporation organized and

existing under the laws of the Commonwealth of Massachusetts that maintains its principal

place of business at 470 MacArthur Blvd., Bourne, Massachusetts 02532.

                                          JURISDICTION

       3.      This is an action for patent infringement arises under the patent laws of the

United States, Title 35 of the United States Code.

       4.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§

1331 and 1338(a).
      Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 2 of 10



       5.       This Court has personal jurisdiction over Onset because it has engaged in

systematic and continuous business activities in the District of the Commonwealth of

Massachusetts. Specifically, Onset is incorporated in the state of the Commonwealth of

Massachusetts and provides its full range of services to residents in this District. As

described below, Onset has committed acts of patent infringement giving rise to this action

within this District.

                                             VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Onset

has committed acts of patent infringement in this District, has its principal place of business

in this Judicial District and is incorporated in the state of the Commonwealth of

Massachusetts. In addition, Encoditech has suffered harm in this District.

                                        PATENT-IN-SUIT

        7.      Encoditech is the assignee of all right, title and interest in United States

Patent No. 6,321,095 (the “’095 Patent”) including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of

the Patent-in-Suit. Accordingly, Encoditech possesses the exclusive right and standing to

prosecute the present action for infringement of the Patent-in-Suit by Onset.

    The ’095 Patent

        8.      On November 20, 2001, the United States Patent and Trademark Office

issued the ’095 Patent. The ’095 Patent is titled “Wireless Communications Approach.”

The application leading to the ’095 Patent was filed on March 26, 1999. A true and correct

copy of the ’095 Patent is attached hereto as Exhibit A.

        9.      A certificate of correction for the ’095 Patent was filed on May 23, 2017. A




                                            —2—
     Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 3 of 10



true and correct copy of the certificate of correction is attached hereto as Exhibit B.

       10.     The ’095 Patent is valid and enforceable.

       11.     The invention claimed in the ’095 Patent relates to a mobile station that

provides direct, wireless communications with another mobile station on a portion of a

radio frequency (RF) band. Ex. A at 2:54-57.

       12.     The inventors wanted to improve wireless communications, without

requiring the physical infrastructure of digital cellular telephone systems. Id. at 3:58-61.

       13.     The ’095 Patent claims are not directed to a method of organizing human

activity or to a fundamental economic practice long prevalent in commerce. The ’095

Patent describes a system that addresses a technical problem--providing wireless

communications methods that allow for more than one user to communicate with another

and have private conversations, id. at 1:32-46--with a technical solution, providing direct,

wireless communications using a frequency division multiple access/time division multiple

access communication protocol. Id. at 2:30-34.

       14.     The ’095 Patent does not preempt the field or preclude the use of other

methods of providing wireless communications. The claims are directed to mobile stations

“configured to select a portion of a radio frequency (RF) band” and “transmit a first signal

on a first sub-portion.” Id. at claim 1. The ’095 Patent identifies other methods of providing

wireless communications which are generally described “in the context of a non-frequency

hopping application.” Id. at 12:10-12.

       15.     The ’095 Patent does not take a well-known or established business method

or process and apply it to a general-purpose computer. Instead, the specific system and

processes described in the ’095 Patent have no direct corollary to a well-known business




                                           —3—
       Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 4 of 10



process. The ’095 Patent describes a system that addresses a technical problem that arises

in the context of providing wireless communications. See id. at 1:32-46. The invention has

improved wireless communications by providing direct, wireless communications using a

frequency division multiple access/time division multiple access communication protocol.

Id. at 2:30-34.

                       COUNT I: INFRINGEMENT OF THE ’095 PATENT

        16.       Encoditech incorporates the above paragraphs herein by reference.

        17.       Direct Infringement. Onset has been and continues to directly infringe at

least claim 7 of the ’095 Patent in this District and elsewhere in the United States, by

providing an app that satisfies the preamble of claim 7” “[a] wireless communications

system.” For example, Onset’s HOBO MX1101 treats and adjusts pain. Upon information

and belief, Onset has performed each step of claim 7 at least by internal testing of Onset’s

app.                       See                    https://www.onsetcomp.com/products/data-

loggers/mx1101?creative=178262173812&keyword=&matchtype~~~~~=&network=g&device

=c&gclid=EAIaIQobChMIt-blp-qE4AIVCqdpCh2WJAcwEAQYBCABEgJja_D_BwE; webpage

attached hereto as Exhibit B, Figure 1.




                                            —4—
     Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 5 of 10




Figure 1. Onset’s HOBO MX1101 helps wirelessly log data related to temperature and
humidity via Bluetooth Low Energy.




Figure 2. Onset’s HOBO MX1101 transmits temperature and relative humidity data
wirelessly to mobile devices via Onset’s HOBOmobile app.



                                      —5—
     Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 6 of 10




See https://www.onsetcomp.com/datasheet/MX1101; webpage attached hereto as Exhibit
C, Figure 3.




Figure 3. Onset’s HOBO MX1101 works with Bluetooth devices.


       18.     Onset’s HOBO MX1101 satisfies claim element 7(a): “a first mobile

station.” For example, Onset’s HOBO MX1101 works on a mobile device, such as an

iPhone. See Ex. B, Figs. 1-2.

       19.     Onset’s HOBO MX1101 has a second mobile station. For example, Onset’s

HOBO MX1101 works on mobile devices, such as iPhones, that communicate with each

other via Bluetooth V4.0 low energy. See Exs. B-C, Figs. 1-3.

       20.     Onset’s HOBO MX1101 satisfies claim element 7(b): “wherein the first

mobile station is configured to select a first portion of a radio frequency (RF) band to carry

communications between the first mobile station and the second mobile station, transmit a



                                           —6—
      Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 7 of 10



first request signal on a first sub-portion of the first portion of the RF band directly to the

second mobile station to request communications between the first mobile station and the

second mobile station, establish in response to receiving a first acknowledge signal from

the second mobile station, a direct communication link between first the mobile station and

the second mobile station on the first portion of RF band.” For example, Onset’s HOBO

MX1101 selects a 2.4 GHz-2.4385 GHz range of the ISM band to carry communications

between the mobile devices via Bluetooth V4.0 low energy. See Exs. B-C, Figs. 1-3.

       21.     Upon information and belief, Onset’s HOBO MX1101 satisfies claim

element 7(c): “receive from the second mobile station a public encryption key generated

using a private encryption key associated with the second mobile station.” For example,

Onset’s HOBO MX1101 receives a public encryption key from the second mobile device

that was generated using a private encryption key.

       22.     Upon information and belief, Onset’s HOBO MX1101 satisfies claim

element 7(d): “generate a message containing a common encryption key (Ckey).” For

example, Onset’s HOBO MX1101 generates a message containing a common encryption

key, such as a DH key, that will be extracted by the second mobile station.

       23.     Upon information and belief, Onset’s HOBO MX1101 satisfies claim

element 7(e): “encrypt the message using the public encryption key to generate an

encrypted message, provide the encrypted message to the second mobile station so that the

second mobile station may decrypt the encrypted message using the private encryption key

and extract the Ckey, wherein the message exchanged between the first and the second

mobile stations are encrypted using the Ckey.” For example, Onset’s HOBO MX1101 has

a public-private key system where a receiver receives an encrypted message and decrypts




                                            —7—
      Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 8 of 10



that message using a private key.

        24.      Upon information and belief, Onset’s HOBO MX1101 satisfies claim

element 7(f): “wherein the second mobile station is configured to transmit, in response to

receiving the first request signal from the first mobile station, the first acknowledge signal

on a second sub-portion of the first portion of the RF band directly to the first mobile station

to acknowledge the first request signal.” For example, Onset’s HOBO MX1101 transmits

a request signal on a double-sided spectrum with center frequency 2.402 GHz of the range

of the ISM band directly to the mobile devices and establishes a direct communication link

between the two mobile devices upon receiving a first acknowledgment signal from the

second mobile station.

        25.      Encoditech is entitled to recover damages adequate to compensate it for

such infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

        26.      Encoditech will continue to be injured, and thereby caused irreparable harm,

unless and until this Court enters an injunction prohibiting further infringement.

                                          JURY DEMAND

        27.      Under Rule 38(b) of the Federal Rules of Civil Procedure, Encoditech

respectfully requests a trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

        WHEREFORE, Encoditech asks this Court to enter judgment against Onset

Computer Corporation, granting the following relief:

              A. A declaration that Onset has infringed the Patent-in-Suit;




                                             —8—
    Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 9 of 10



         B. An award of damages to compensate Encoditech for Onset’s direct

             infringement of the Patent-in-Suit, including an accounting of all damages

             not presented at trial;

         C. An order that Onset and its officers, directors, agents, servants, employees,

             successors, assigns, and all persons in active concert or participation with

             them, be permanently enjoined from infringing the Patent-in-Suit under 35

             U.S.C. § 283;

         D. A declaration that this case is exceptional, and an award to Encoditech of

             reasonable attorneys’ fees, expenses and costs under 35 U.S.C. § 285;

         E. An award of prejudgment and post-judgment interest; and

         F. Such other and relief as this Court or jury may deem proper and just.


Dated: January 31, 2019                     Respectfully Submitted,

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                                        —9—
Case 1:19-cv-10214-GAO Document 1 Filed 01/31/19 Page 10 of 10



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